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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                  No. CR 18-4176 JB

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR,

                Defendants.


                   DEFENDANTS’ UNOPPOSED MOTION TO EXTEND
                      REPLY AND EXPERT NOTICE DEADLINES

        Defendants, for good cause, move the Court to extend the Defendants’ deadline to reply

to the United States’ Response to the Motion to Dismiss Count 1 [Doc. 59], and the Defendants’

expert notice and report disclosure deadline. Defendants move the Court to extend these

deadlines two weeks, until June 21, 2019. Plaintiff United States of America does not oppose the

relief requested in this motion. The following constitute good cause for the extension:

        1.      On March 12, 2019, the Court filed the Proposed Scheduling Order [Doc. 42]

(“Scheduling Order”). The Scheduling Order provides that Rule 12 motions, such as the

Defendants’ motion to dismiss Count 1, are due to be filed on or before July 5, 2019. Scheduling

Order ¶ 6. The Scheduling Order sets the deadline to disclose experts on May 24, 2019. See id. ¶

3. The Scheduling Order set the trial for this matter to begin on November 18, 2019. See id. ¶ 13.




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        2.      On May 21, 2019, the Court granted the United States’ unopposed motion to

continue its deadline to respond to the Defendants’ motion to dismiss Count 1 until May 24,

2019.

        3.      On May 23, 2019, the United States agreed to extend the Defendants’ expert

disclosure deadline until June 7. On June 6, 2019, the United States agreed to extend the

Defendants’ expert disclosure deadline until June 21, 2019.

        4.      On May 24, 2019, the Court vacated the May 29 hearing on the outstanding

motions in this matter, including the Motion to Dismiss Count 1. See Minute Order [Doc. 58].

        5.      On May 24, 2019, the United States filed its Response to Defendants’ Joint

Opposed Motion to Dismiss Count 1 of the Indictment [Doc. 59].

        6.      On May 28, 2019, the Court’s Courtroom Deputy, Ms. Bevel, sent the parties an

email stating that the Court will reset the hearing on the outstanding motions, including the

motion to dismiss Count 1, on June 24, 2019, at 8:30 a.m.

        7.      On June 5, 2019, the United States filed its Notice of Intent to Offer Expert

Witness Testimony [Doc. 61].

        8.      On June 3, 2019, the United States and counsel for Defendants met to discuss this

proceeding and discuss potential pretrial resolution. The parties’ discussions of that nature are

ongoing and have been promising thus far.

        9.      The parties’ counsels’ discussion are ongoing. An extension of the deadline for

the Defendants to reply in support of their motion to dismiss Count 1 will still allow that reply to

be filed before the Court’s June 24 hearing on the motion. An extension of the Defendants’

expert notices and reports to June 21, 2019, will not cause any delay in the scheduled November




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trial in this matter. Thus, good cause exists to grant the relief that Defendants request (and which

the United States does not oppose) in this motion.

       10.      For all of these reasons, under 18 U.S.C. § 3161(h)(7) and United States v.

Toombs, 713 F.3d 1273 (10th Cir. 2013), the ends of justice served by the two-week extension of

the expert disclosure and reply deadlines, to allow the parties to continue the discussion in which

they are currently engaged, outweigh the best interest of the public and the Defendants in

adhering to the Scheduling Order’s and Local Rules’ deadlines, and good cause exists to grant

the two-week extension to June 21, 2019.

                                          CONCLUSION

       For good cause, because the two-week extensions requested will not delay any matters in

this proceeding, and because the ends of justice served by granting the extension outweigh the

best interest of the public and Defendants in adhering to the current deadlines, Defendants move

the Court to extend for two weeks, until June 21, 2019, Defendants’ deadlines to: (i) file their

reply in support of their motion to dismiss Count 1; and (2) file their expert notice(s).

                                       Respectfully Submitted,

                                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


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                                   CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2019, I filed the foregoing pleading electronically through
the CM/ECF system, which caused all parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing.

                              RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                              By      /s/ Matthew M. Beck
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